Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 1 of 16 Pageid#:
                                  11667




                   EXHIBIT 1
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
                Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 2 of 16 Pageid#:
                                                  11668


                         Home        Archive         Blog       About        Contact

                         Donate




              Motions filed for Recusal of Charlottesville Rally
              Clerks
              Posted on March 24, 2020




                —    Rally litigant Elizabeth Sines (Center) with Hutton Marshall (Left) and Joshua Lefebvre (Right), the two clerks writing
                     the opinions in her case.


              Plaintiffs in a free speech case stemming from the 2017 Unite the Right rally have filed a Motion to
              Recuse two law clerks writing the opinions of Judge Norman K Moon citing unacceptable bias within
              his courtroom.

              Incredibly, Judge Moon's opinions in multiple cases stemming from the rally have been written by close
              personal friends of Elizabeth Sines, a woman suing rally organisers. Further evidence shows that Judge
              Moon's clerks going back to 2018 are 1. Material fact witnesses in the cases 2 . Friends of an opposing
              litigant and 3. Have made several prejudicial statements about rally organisers before being hired to


1 of 15                                                                                                                                6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
                Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 3 of 16 Pageid#:
                                                  11669
              decide matters in these cases.

              Information about the two law clerks, Hutton Marshall and Joshua Lefebvre, was uncovered last month
              and was released in the Twitter thread below:



                          Jason Kessler
                          @TheMadDimension

                  What if I was to tell you that Judge Moon does not actually write his
                  opinions?

                  Would you be surprised to know the people writing Judge Moon's
                  opinions are:

                  1. Friends with Elizabeth Sines
                  2. Coworkers of Amy Spitalnick
                  3. Left wing activists with ties to Antifa ?

                  (thread)

                            Hutton Marshall updated his cover photo.
                                                                                                •••
                            February 10 2019




                    0       10                                                         1 Comment

                                                           Share


                            Elizabeth Ann
                            ThA AFST OF FRIFNns I HkA how AVArvnnA is hnlrlinn




2 of 15                                                                                                                                6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
                Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 4 of 16 Pageid#:
                                                  11670
                       170 1:28 PM - Feb 26, 2020

                       75 people are talking about this



                         Jason Kessler @TheMadDimension ꞏ Feb 26, 2020
                         Replying to @TheMadDimension
                         3. Hutton Marshall worked with Amy Spitalnick, Executive Director of
                         Integrity First for America, at the Office of the New York State Attorney
                         General's Office.

                         Integrity First is the organization founded by Roberta Kaplan behind the
                         lawsuits against UTR attendees.

                          Linkedlm                                                         Join now      Sign in

                                   Intern
                                   Office of the New York State Attorney General
                                   May 2017 - Jul 2017 . 3 months
                                   Greater New York City Area
                                   Interned in the Special            -    iaations and Prosecutions

                                                Join to view Hutton's full profile

                                                              View full profile



                          Jason Kessler
                          @TheMadDimension


                  Linked(ffl                                                             Join now       Sign in


                             Communications Director & Senior Policy Advisor
                             Office of the New York State Attorney General
                             Oct 2016-Jan 2019 . 2 years 4 months
                             New York, NY



                                            Join to view Amy's full profile
                   I
                                                          View full profile


                       24 1:43 PM - Feb 26, 2020

                       See Jason Kessler's other Tweets



3 of 15                                                                                                                                6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
                Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 5 of 16 Pageid#:
                                                  11671

                         Jason Kessler @TheMadDimension ꞏ Feb 26, 2020
                         Replying to @TheMadDimension
                         4. Hutton Marshall is "BEST OF FRIENDS" with Sines v Kessler lead
                         plaintiff Elizabeth Sines.

                         Those are her words in this image from his Facebook page. Hutton's fiance
                         liked the comment.

                         This picture is currently Hutton's header image

                                 Hulton Marshall                                             : : Add Friend        0




                                                                                             Share

                            Life Events                 Sae All
                                                                     Ellm>0t11Ann
                                                                     The BEST Of FRIENDS. I like how everyone is holding
                                                                     their dog and I am holding faith like a l>ab~.
                                                                                                                       O>
                                                   ft                Reply   1y




                          Jason Kessler
                          @TheMadDimension

                  5. Hutton is a left-wing activist who advocates for illegal immigration
                  while ostensibly serving the law.




4 of 15                                                                                                                                6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
                Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 6 of 16 Pageid#:
                                                  11672



                                                                                               0 0 26


                                                                                                    r.wi•n• ~uffm;an Kd)' ii
                                                                                                    a1        tie IS it dl'eartliel




                                                                                                         T"""'""°" 2y




                      38 1:49 PM - Feb 26, 2020

                      See Jason Kessler's other Tweets



                         Jason Kessler @TheMadDimension ꞏ Feb 26, 2020
                         Replying to @TheMadDimension
                         6. Hutton wrote at a social justice publication for gay rights and culture.

                         MUCK RACK


                                                               Hutton Marshall
                                                                9 Charlottesville
                                                                   Assistant Editor - Gay San Diego
                                                                   Arts and Entertainment
                                                               As seen in: Gay San Diego

                                                               m Is this you? Contact us to edit this page


                          Jason Kessler
                          @TheMadDimension

                  7. Hutton Marshall has ties to Antifa. The "Cody Thompson" account
                  below signifies his affiliation with the three downward facing arrows you


5 of 15                                                                                                                                6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
                Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 7 of 16 Pageid#:
                                                  11673
                 see below.

                         Hulton Marshall                                                               :0'   Ad d Friend           0



                              , Cody Thompson                     Add Fri end               Nate Dombrowski                   Add Friend
                                 San Diego, Cal,fomi:,




                                                                                            Sarni AI-Marzoog
                                 Brendan Woods                    Add Friend                Attorney at Faegre Balcer         Add Friend
                                                                                            0-1$




                      32 1:55 PM - Feb 26, 2020

                      See Jason Kessler's other Tweets



                         Jason Kessler @TheMadDimension ꞏ Feb 26, 2020
                         Replying to @TheMadDimension
                         8. You must surely think this is over, right?

                         No sir...

                         What if I was to tell you that Judge Moon has ANOTHER CLERK who is a
                         possible MATERIAL WITNESS to the events of August 11 & another close
                         personal friend of plaintiff Elizabeth Sines?

                         Let me introduce you to Josh Lefebvre




                                                                                                              U.S. District Co urt. Western
                            Joshua Lefebvre                                                                   District of Virginia
                            Law Clerk, U.S District Cour1 for the Western District of                         University of Virginia School
                            Virg inia                                                                         of law

                            United States • 500+ connect ions • Contact info




                            Expe rience

                                        Law Clerk
                                        U.S. District Court. Western District of Virginia
                                        Aug 2019 - Present · 7 mos




                          Jason Kessler
                          @TheMadDimension




6 of 15                                                                                                                                       6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
                Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 8 of 16 Pageid#:
                                                            11674
                 9. Information on Lefebvre is a little more scarce but look what I found
                 in this article many of us have probably seen & overlooked a dozen
                 times....law.virginia.edu/news/201708/st…
                   Chia and Sines missed being hit by just a couple feet. Sines later recalled Chia s arm
                   pulling her into a doorway possibly saving her from injury as the car backed up.
                   After the shock died down, and after helping other people on the scene in need, the
                   pair retreated to the home oflaw sh1dent ITosh Lefebvr '19 to begin to understand
                   what had happened. As they told their stmy the pair seemed hopeful for the future.
                   The wTot in The ew York Time 'We witnessed domestic terrori m in our
                   home. Neither of us regrets attending the rally, and we will keep showing up, every
                   single time it's necessa1y.'

                      28 2:05 PM - Feb 26, 2020

                      See Jason Kessler's other Tweets



                         Jason Kessler @TheMadDimension ꞏ Feb 26, 2020
                         Replying to @TheMadDimension
                         10. Given all this damaging evidence of bias in the Norman Moon
                         courtroom, I have instructed my attorneys to put this in the court record &
                         file a motion for recusal of Norman Moon.

                         We will also be looking into having "Moon's opinion" (wink, wink) in our
                         offensive case vacated

                          Jason Kessler
                          @TheMadDimension

                  11. Just noticed something else.

                  Josh Lefebvre also appears to be in the "BEST OF FRIENDS" photo
                  with Elizabeth Sines and Hutton Marshall.




7 of 15                                                                                                                                6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
                Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 9 of 16 Pageid#:
                                                  11675




                      28 3:25 PM - Feb 26, 2020

                      See Jason Kessler's other Tweets


              As it is well known within the legal community, clerks are widely known to write as many as 95°/o of
              rulings for federal judges.

              The Motion to Recuse can be read here:




8 of 15                                                                                                                                6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
               Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 10 of 16 Pageid#:
                                                  11676
                              Gase 19-cv-000          -NKM.JCH             c:>cument 55 Filed 03f23/20 Page 1 of 4 Pageid#: 584




                                                                      Vi 'rHl'. ONJl'l!'.D UA1'ES IHSUtJCT C0 UK.T
                                                                           \\'ES"F.UN DISTRICT Oln;JJt,GINL!i.

                                     JASON USSLUl !1' ,U...,




                                     em' OF CH..i\RLOII"f.l.n lliLE J:l' AL .
                                                                                                  i!.-IOTIO!\i FOR: =!ll!,




                                               N01v cti:ir:= Phflll:iffu. uxl. mcvL'l! the   (:Qnrt   to ,lili4umfy from furtiEr imroh,ED.e!'..l   m


                                     Jl='. ro ;_g- ..S.C. §45:i(a.) i!l:d §4>5\ibXl ).

                                     A.        ~           -
                                               H,.rtroc 'wwll




                                     J!rofl!~[mw modi.tfon. Sp;,:mcllL'y, M'.r. Mmlml is :den.iii':d                        "b5t fri.o.r.d" a~ Ms.

                                     Embri!Sirl:i onMm:-..mll'sF:~ce!oookarollllll1.'Mr. MM:!wlzimMs. Sme;=_pi.ctml!don
                                     .;ocial. :ir;,rlia.       memlle!!; of tfll~ =e .;oci~ grDllJ) fur dn§ en:luEW15. Said groi:J) i; not \'l!I}'

                                              ;md    implie,        sumci;,m level of j!!![,onal. mBDil!lhiJI o!Jl!jii.e of -~ rl!ool oc ,G.:her

                                     J!rof,m[mw Cllll.!:,sl to r&irx:e'id.y _ a,1:ioo th: impmi;jJ:11 of:Mr. Mw..bill.




              An additional Rule 59 Motion was filed last week, to have a recent dismissal ruling in the Kessler v
              Charlottesville case overturned for judicial error. In that ruling, Moon and his law clerks claimed that
              Charlottesville Police Chief Al Thomas had a right to order the police stand down and allow Heckler's
              Veto violence.


              This order led to rioting and the dispersal of the permitted rally before it was scheduled to take place.
              A Rule 59 Motion is a way of asking to have a judicial decision reversed based on judicial error and is
              one step that can be taken prior to an appeal.


              Read the Rule 59 Motion here:




9 of 15                                                                                                                                                6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
               Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 11 of 16 Pageid#:
                                                  11677
                        C ase   19•cv-00044-NIKM-JC           Document 541 Filed 0-3{1 912 0             P.a.ge 1 o f 5 P argeid#: 579




                                                           .IN THE ll"NlrTrn :s:rATES. DISTIUCT comrr
                                                                "'ESI'ER! msmi:cr OF ,oJRGTh]A

                                 JASOXKES'SLER Irr AL.,                                   Caae Ko. 3: ~-CV-44



                                         V.

                                 ,c rn OF OH..~OTI'ES\1Il..I..i: ET _.u,..,               MOTIO . 'iFO AL1!ll OR A1'1Ellil!>
                                                                                          JUDGMEl"'fii' av. R. 5WE},AND FOR
                                                                                          REUEF Jffi.Oll .ITiDGJl.,D !Nl'' CI'\'. R. •60




                                          -o,w ,come Pladntim and. and mo.e lhe Court to 3.11:e r or amend its j udgment

                                 di.m:i:;:;i:Jli_g Pl!ammfs. COllllplamt j ag,a imt all Defend:mto   pl.U';IJl3ll I.O :Fed!. R.   er.,. P'. 59{e) and
                                 for relief from ~aid ju~           puHU3llt o F'ecl. ilL Ci\; . P. 6lll. A:;      :;e   .forth. bel.mv, PlaiJrtifil;

                                 rubmil lbat tbe C om;f' :;     ' :emonnd;um Opinion 3lld Ord.e r is. ba!!ed 011 error.. of law . A

                                 correoted under>;timding of tfu! ;applica:bl.le law :i,ie lds the oooctutiim. tha,t the DeS'Wl!ley c~

                                 d oe. no.t oar ;B.lly oflh!! PWl!ltifl'5 claim~ :mil l:hat the Court mil!! vacate it:. ju.dgme:m ;and! de:ny

                                 tliie Defend.am:;' motions. to <fulm:w. 2




                                         ] . Defendlants bad a dun· o protect Plaiintiff ·:; First Ame:ndmem lilifm

                                         "S ection 1983 . .. ... i, 11ot an independent som,ce of rubstl!llth;e right;;,_but .imply                a,




              Judge Moon's 2018 Law Clerk Dascher Pasco

              Additionally I can confirm new, never before released evidence about Judge Moon's law clerk from
              2018 1 Dascher Pasco. Per National Justice, Pasco helped Moon decide several momentous decisions
              relating to Unite the Right during the 2018 term, including the Constitutionality of the Federal Rioting
              Act (See Rise Above Movement) and an order rejecting Motions to Dismiss lawsuits filed by Elizabeth
              Sines and Roberta Kaplan against rally organisers.



                 Dascher Pasco
                     orman K. Moon '62, LL.M. '88, U.S. Di.strict Cou1t for the                                                                         1




                 ,¥estern District of Virginia

              On the day of Unite the Right, Pasco took to Facebook to state that "chanting" and "horrible phrases"
              of Charlottesville marchers "disgusts me". She implored her followers to "stand up against this
              hatred."



10 of 15                                                                                                                                                    6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
               Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 12 of 16 Pageid#:
                                                  11678

                           Dascher Pasco                                                                       •••
                           August 12, 2017 · 0

                As I sat in Jeru salem discussi11g antisemitism, l eam ed about the 11



                atrocities happening at home. The iro ny i s not l ost on me .
                 Words cannot adequatelly capture my feelings, but to lknow that people
                 are chanting: '''Jew will not repllaoe us," among oth,er horrendous
                 phrases , steps away from my house 1      in Charlottesville disgusts me_
                 To know th at friiends and loved on,es are w illling1to stand up against
                 suct1 hatred gives me hope.
                 I'm sorry I'm not there, I'm sorry I'm not beside those w ho are strong
                 enough to sta11 dl up ag1ainst this hatmdl, but please kn ow that I'm
                 grateful and proud




                 NYTIMES.COM
                 State of Emergency Declar,ed iin Charlottesvine After
                 Protests Turn Violent


                —    Archive link: http://archive.is/aJsi4


              As offensive as the phrase "Jews will not replace us" may be (chanted by trolls rather than rally
              organisers), it must be respected as Constitutionally protected speech. Dascher Pasco was in no
              position to decide for Judge Moon if words like these are Constitutionally protected speech or a "hate
              crime".

              In another rambling Facebook screed, Pasco implored her followers to, "Fight all racism as strongly as
              you fight anti-Semitism and fight it regardless of the speaker' (emphasis added).




11 of 15                                                                                                                               6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
               Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 13 of 16 Pageid#:
                                                  11679
                    3. Do not allow Tr mp or his fa lse claims to drive wedges among
                    American Jews. Do not let the policies of the current Israeli
                    government complet,e ly color your view of the nation or he importance
                    of her existence for the Jewish people .




                     YTIME .COM
                    Trump Again Accuses Aimeri,can Jews of Disloyalty
                    'If you want to vote Democrat, yo are bei g very disloyal to e is ...

                —     Archive link: http://archive.is/OxAzv


              While Pasco was president of the Jewish Law Student Association, its leadership submitted an editorial
              to the Virginia Law Weekly entitled Oppose Antisemitism in All Its Forms. It heavily referenced the
              Unite the Right rally, organiser Jason Kessler and made clear that its members could be counted on as
              judicial activists against anti-semitic speech. They claim to have "experienced anti-semitism directly
              on August 12th."


              As president of Virginia Law Women, she even went so far as to approve of my harassment at the UVA
              Law Library while I was trying to study for the Sines litigation.




12 of 15                                                                                                                               6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
               Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 14 of 16 Pageid#:
                                                  11680

                             Virginia Law Women
                             19 April 201 8 - 0

                 A message from our President and executive board regardiing Jasoni
                 Kessler's appearance at the llaw school yesterday:
                 "To reiterate Dean Goluboff's message last riiight: white supremacy is
                 abtlorrent and inimical to th e values we hold dear-diversi1ty1 collegiiiality1,
                 humaniity1 empathy, and reason. Virginia law Women is a proud member of
                 the Minority RigMs Coaliti1on 1 and we are eag!er to amplify the voices of MIRC
                 members now anid in th e weeks ahead. Whiile we can collectivelly condemn
                 Jason Kessler's message of hate and bi,gotry, we fu lly acknowledge that this
                 burden i s born disproportiionatelly by marginallii~ed populati1ons .. We stand
                 wittl and are eager to support our members, friends 1 and colleagues who
                 have been targeted by ~essler, and we welcome the opportuni1ty to unite
                 wittl the est of the Vrginia Law community. 11


                —    Archive link


              Where we go from. here

              Within a few weeks Judge Moon will rule on both the Motions to Recuse and the Rule 59 Motion . If the
              Rule 59 Motion is successful Kessler v Charlottesville will be allowed to go forward into the discovery
              phase. This is good news for everyone who has been anxiously awaiting discovery of the August 12th
              text messages and emails the Heaphy Report says Police Chief Al Thomas deleted. Additionally, City
              Manager Maurice Jones had communications that day which he has refused to turn over through
              repeated FOIA requests.

              If Moon decides to double down on bias in his courtroom we will next have to put in a Notice of Appeal
              to the Fourth Circuit Court of Appeals.

              We fully expect that a fair analysis of the case will overturn Moon's ruling and reiterate that police
              cannot allow a Heckler's Veto without violating the Constitution.

              That process will take about 18 months.

              If however we still don't get the ruling we are looking for, our only option will be to request a hearing
              before the Supreme Court. There is a plausible chance our case could be picked up because a refusal, by
              an appeals court, to acknowledge a Heckler's Veto cause of action would trigger a conflict with every
              other court in the nation.

              Such cases are given preference on the Supreme Court docket.



13 of 15                                                                                                                               6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
               Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 15 of 16 Pageid#:
                                                  11681
              - Jason Kessler


                                  360
                                  Shares
                                                Tweet                                                        0
                    Tweet


              SHARE THIS:

               W           II

              LIKE THIS:

              Loading ...




              RELATED


              PRESS RELEASE: LAW                        Lawsuit Filed for Unite the               *SHOCK* FOIA Documents
              CLERKS REMOVED FROM                       Right Anniversary Rally!                  Reveal Government Lies and
              UNITE THE RIGHT LAWSUIT                   March 7, 2018                             Sabotage of Charlottesville
              June18,2020                               In 11 News 11                             Protest
              In   11   News 11                                                                   May 25, 2020
                                                                                                  In "News"


              This entry was posted in News by Jason Kessler. Bookmark the permalink [https://jasonkessler.us
              /2020/03/24/motions-filed-for-recusal-of-charlottesville-rally-clerks/] .




14 of 15                                                                                                                               6/23/2020, 1:10 PM
Motions filed for Recusal of Charlottesville Rally Clerks | Jason Kessler:... https://jasonkessler.us/2020/03/24/motions-filed-for-recusal-of-charlottesv...
               Case 3:17-cv-00072-NKM-JCH Document 794-1 Filed 07/07/20 Page 16 of 16 Pageid#:



                                                                                                                              •
                                                  11682
              0 Comments           JasonKessler            • Disqus' Privacy Policy
                                                            n
                                                                                                                               1   Login




               •
                 Recommend                Tweet       f   Share                                                             Sort by Best



                           Start the discussion…

                         LOG IN WITH                      OR SIGN UP WITH DISQUS ?  0
                          8000                             Name




                                                                Be the first to comment.



                  Subscribe   8   Add Disqus to your siteAdd DisqusAdd        Do Not Sell My Data




15 of 15                                                                                                                               6/23/2020, 1:10 PM
